                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

 L.W., by and through her parents and next friends,
 Samantha Williams and Brian Williams;
                                                         Case No.
 SAMANTHA WILLIAMS; BRIAN WILLIAMS;
                                                         3:23-cv-00376
 JOHN DOE, by and through his parents and next
 friends, Jane Doe and James Doe; JANE DOE;
                                                         District Judge Richardson
 JAMES DOE; RYAN ROE, by and through his
 parent and next friend, Rebecca Roe; REBECCA
                                                         Magistrate Judge Newbern
 ROE; and SUSAN N. LACY, on behalf of herself
 and her patients,

                              Plaintiffs,

 and

 UNITED STATES OF AMERICA,

                     Plaintiff-Intervenor,

        v.

 JONATHAN SKRMETTI, in his official capacity as
 the Tennessee Attorney General and Reporter;
 TENNESSEE DEPARTMENT OF HEALTH;
 RALPH ALVARADO, in his official capacity as the
 Commissioner of the Tennessee Department of
 Health; TENNESSEE BOARD OF MEDICAL
 EXAMINERS; MELANIE BLAKE, in her official
 capacity as the President of the Tennessee Board of
 Medical Examiners; STEPHEN LOYD, in his official
 capacity as Vice President of the Tennessee Board of
 Medical Examiners; RANDALL E. PEARSON,
 PHYLLIS E. MILLER, SAMANTHA MCLERRAN,
 KEITH G. ANDERSON, DEBORAH
 CHRISTIANSEN, JOHN W. HALE, JOHN J.
 MCGRAW, ROBERT ELLIS, JAMES DIAZ-
 BARRIGA, and JENNIFER CLAXTON, in their
 official capacities as members of the Tennessee
 Board of Medical Examiners; and LOGAN GRANT,
 in his official capacity as the Executive Director of
 the Tennessee Health Facilities Commission,

                              Defendants.


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     MEMORANDUM OF LAW IN SUPPORT OF UNITED STATES’ MOTION TO
                           INTERVENE

       Under Federal Rule of Civil Procedure (“Rule”) 24, the United States respectfully

submits this brief in support of its motion to intervene in this lawsuit as Plaintiff-Intervenor. This

lawsuit challenges the prohibition on certain types of gender-affirming medical care for

transgender youth diagnosed with gender dysphoria contained in Section 68-33-103 of Act No.

2023-SB0001, Senate Bill 1, codified at Tenn. Pub. Acts § 68-33-101, et seq. (2023) (“SB 1”).

       Rule 24 provides for intervention either as of right or by permission, and the Sixth Circuit

has repeatedly held that Rule 24 is to be broadly construed in favor of the potential intervenors.

See, e.g., Stupak-Thrall v. Glickman, 226 F.3d 467, 472 (6th Cir. 2000); Purnell v. City of Akron,

925 F.2d 941, 950 (6th Cir. 1991). Here, the United States has a statutory right to intervene in

this litigation under Rule 24(a). See Fed. R. Civ. P. 24(a)(1). Section 902 of the Civil Rights Act

of 1964, as amended, grants the United States an unconditional right to intervene in certain cases

seeking relief from the alleged denial of equal protection of the laws under the Fourteenth

Amendment if the Attorney General certifies that the case is one of general public importance.

42 U.S.C. § 2000h-2. In its proposed Complaint in Intervention, the United States alleges that SB

1’s ban on certain types of gender-affirming medical care for transgender youth diagnosed with

gender dysphoria violates the Equal Protection Clause of the Fourteenth Amendment. Less than a

year ago, the United States intervened in a similar matter challenging another state’s ban on

certain types of gender-affirming medical care for transgender youth. Further, the Attorney

General has certified that this case is one of general public importance and the United States’

motion to intervene is timely.

       For these reasons, the Court should grant the United States’ motion to intervene.




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                                        BACKGROUND

       SB 1 was signed into law by Governor Bill Lee on March 2, 2023. The law will become

effective on July 1, 2023. Section 68-33-103 of SB 1 provides that

               A healthcare provider shall not knowingly perform or offer to
               perform on a minor, or administer or offer to administer to a minor,
               a medical procedure if the performance or administration of the
               procedure is for the purpose of: (A) Enabling a minor to identify with,
               or live as, a purported identity inconsistent with the minor’s sex; or
               (B) Treating purported discomfort or distress from a discordance
               between the minor’s sex and asserted identity.

SB 1, § 68-33-103. The prohibited medical procedures include prescribing, administering, or

dispensing any puberty blocker or hormone. Id. § 68-33-102(5). SB 1 also prohibits anyone, not

just a health care provider, from “knowingly provid[ing]” a hormone or puberty blocker “by any

means” to a minor if the provision is not in compliance with SB 1. Id. § 68-33-104.

       SB 1 permits the same medical procedure when it is “to treat a minor’s congenital defect,

precocious puberty, disease, or physical injury.” Id. § 68-33-103(b)(1). It also allows any

medical procedure otherwise prohibited by SB 1, if it began before the effective date of SB 1 and

concludes by March 31, 2024. Id.

       SB 1 creates three enforcement mechanisms. First, SB 1 requires the Tennessee Attorney

General and Reporter (“TN AG” or “TN Attorney General”) to create a process for reporting

violations of the statute and authorizes the TN AG to bring an action against a health care

provider or “any person” that knowingly commits a violation. Id. § 68-33-106. The TN AG may

bring such action within 20 years of the purported violation, and may seek an injunction,

disgorgement of profits, and a civil penalty of $25,000 per violation. Id. § 68-33-106(b).

       Second, SB 1 provides for a private right of action against the health care provider or

other person who violates SB 1 that can be brought by any minor or parent of a minor (unless the




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parent consented to the conduct constituting the violation) who received a medical procedure

prohibited under SB 1. The statute allows for such cause of action for an extended period—30

years from when the minor reaches 18 or 10 years of the minor’s death, if the minor dies. Id.

§ 68-33-105.

       Third, SB 1 provides for “Healthcare Provider Licensing Sanctions,” requiring

“appropriate regulatory authorities” to take unspecified “emergency action” whenever (1) a court

renders a final judgment in a private civil action finding a violation of SB 1, and therefore

notifies—as required by SB 1—the appropriate regulatory authority and the TN Attorney

General and (2) the regulatory authority “otherwise becom[es] aware of an alleged violation.” Id.

§§ 68-33-105(c); 68-33-107.

       The L.W. Plaintiffs, who include three transgender minors and their parents and Dr.

Susan Lacy, a health care provider, initiated this lawsuit on April 20, 2023 against TN AG

Jonathan Skrmetti; the Tennessee Department of Health; Ralph Alvarado, the Commissioner of

the Tennessee Department of Health; the Tennessee Board of Medical Examiners; Melanie

Black, the President of the Tennessee Board of Medical Examiners; Stephen Loyd, Vice

President of the Tennessee Board of Medical Examiners; Randall Pearson, Phyllis E. Miller,

Samantha McLerran, Keith G. Anderson, Deborah Christiansen, John W. Hale, John J. McGraw,

Robert Ellis, James Diaz-Barriga, and Jennifer Claxton, each of whom are members of the

Tennessee Board of Medical Examiners, and Logan Grant, the Executive Director of the

Tennessee Health Facilities Commission. In their lawsuit, the L.W. Plaintiffs allege, inter alia,

that SB 1 discriminates on the basis of sex and transgender status in violation of the Equal

Protection Clause of the Fourteenth Amendment; violates Plaintiff parents’ fundamental rights to

make decisions concerning the care of their children, including the ability to seek and follow




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medical advice to protect the health and well-being of their children in violation of the Plaintiff

parents’ substantive Due Process rights under the Fourteenth Amendment; that SB 1 is

preempted by Section 1557 of the Affordable Care Act, 42 U.S.C. § 18116 (“Section 1557”)

because Section 1557 requires that health care providers who receive federal financial assistance

not discriminate on the basis of sex while SB 1 requires health care providers to discriminate

against adolescents on the basis of their sex and refuse to provide medically approved care to

transgender adolescents, and discriminates on the basis of sex in violation of Section 1557.

       The United States’ Complaint in Intervention challenges SB 1’s ban on certain forms of

medically necessary gender-affirming care for transgender minors diagnosed with gender

dysphoria on the basis that it discriminates on the basis of both sex and transgender status in

violation of the Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution. Specifically, the United States challenges four sections of SB 1: §§ 68-33-103; 104;

106; and 107.

                  THE UNITED STATES HAS A RIGHT TO INTERVENE
                               UNDER RULE 24(a)(1)

       The United States’ motion to intervene should be granted under Rule 24(a)(1) because

the United States satisfies the requirements for intervention as of right. Under that rule on timely

motion, a court must permit anyone to intervene who “is given an unconditional right to

intervene by a federal statute.” Fed. R. Civ. P. 24(a)(1). Where an intervenor timely files a

motion to intervene and has an unconditional statutory right to intervene in the lawsuit, a court

has no discretion to deny the intervention. Equal Emp. Opportunity Comm’n v. STME, LLC, 938

F.3d 1305, 1322 (11th Cir. 2019); United States v. Marsten Apartments, Inc., 175 F.R.D. 265,

269 (E.D. Mich. 1997) (finding that the Fair Housing Act created an unconditional right of




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intervention for aggrieved parties, and if an aggrieved party exercises such right, the court had no

discretion to deny intervention).

        The United States is given an unconditional right to intervene in this lawsuit by a federal

statute. Section 902 of the Civil Rights Act of 1964 (“Section 902”), as amended, explicitly

states that:

        Whenever an action has been commenced in any court of the United States seeking
        relief from the denial of equal protection of the laws under the fourteenth
        amendment to the Constitution on account of race, color, religion, sex or national
        origin, the Attorney General for or in the name of the United States may intervene
        in such action upon timely application if the Attorney General certifies that the case
        is of general public importance. In such action the United States shall be entitled to
        the same relief as if it had instituted the action.

42 U.S.C. § 2000h-2. Numerous courts, including the Supreme Court, have recognized that this

statute entitles the United States to intervene in equal protection cases. See, e.g., Fitzgerald v.

Barnstable Sch. Comm., 555 U.S. 246, 247-48 (2009) (acknowledging that Section 902 allows

the Attorney General to intervene in private equal protection suits alleging sex discrimination);

Pasadena City Bd. of Ed. v. Spangler, 427 U.S. 424, 430-31 (1976) (Section 902 authorizes the

United States to continue as a party plaintiff despite the disappearance of the original plaintiffs);

Canterino v. Wilson; 538 F. Supp. 62, 64 (W.D. Ky. 1982) (finding intervention pursuant to

Section 902 was proper in a matter alleging denial of equal protection under the Fourteenth

amendment on account of sex, the Attorney General certified the case is of general public

importance, and the timing analysis weighed in favor of the United States’ intervention even

where trial was less than six weeks away).

        Section 902 applies here. The United States alleges that SB 1 discriminates on the basis

of sex and transgender status in violation of the Equal Protection Clause of Fourteenth

Amendment to the United States Constitution—one of the claims brought in this matter by the




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L.W. Plaintiffs. As required by Section 902, the Attorney General has certified that this is a case

of public importance. U.S. Mot. to Intervene, Ex. 1.

        The United States’ motion is timely. The Sixth Circuit considers five factors to determine

whether a motion to intervene has been timely filed: (1) the point to which the suit has

progressed; (2) the purpose for which intervention is sought; (3) the length of time preceding the

motion during which the proposed intervenor knew or reasonably should have known of their

interest in the case; (4) prejudice to the original parties because of the proposed intervenor’s

failure to promptly intervene after they knew or reasonably should have known of their interest

in the case; and (5) the existence of any unusual circumstances that militate against or in favor of

intervention. Davis v. Lifetime Cap., Inc., 560 F. App’x 477, 490 (6th Cir. 2014) (quoting Jansen

v. City of Cincinnati, 904 F.2d 336, 340 (6th Cir. 1990); United States v. Tennessee, 260 F.3d

587, 592 (6th Cir. 2001) (citing Grubbs v. Norris, 870 F.2d 343, 345 (6th Cir. 1989)); Jansen,

904 F.2d at 340 (same). “The determination of whether a motion to intervene is timely “should

be evaluated in the context of all relevant circumstances.” Stupak-Thrall, 226 F.3d at 472-73

(quoting Jansen, 904 F.2d at 340).

        Here, the United States satisfies all of the factors to make its motion for intervention

timely. First, the United States is moving to intervene only six days after Plaintiffs initiated their

lawsuit and less than 8 weeks after SB 1 was signed into law. SB 1 will not go into effect for

more than two months. Second, the purpose of the United States’ intervention is to properly

exercise its unconditional right under Section 902 of the Civil Rights Act of 1964. Third, the

United States is petitioning the Court for leave to intervene as quickly as possible after learning

of its interest in this case. Fourth, the existing parties to the litigation will not suffer any

prejudice if the United States’ motion is granted and granting intervention will not have any




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negative effect on the proceedings. The L.W. Plaintiffs filed their complaint on April 20, 2023,

Defendants have not yet responded, and discovery has not yet commenced. As such, granting

intervention to the United States here will not prejudice any party. And finally, there are no

unusual circumstances that militate against granting intervention. See Procedural Order & Status

of Forthcoming Opinion, Eknes-Tucker v. Marshall, 603 F. Supp. 3d 1131 (M.D. Ala. 2022)

(No. 2:22-cv-00184-LCB), ECF No. 94 (granting United States’ motion to intervene in case

challenging state’s ban on gender-affirming medical care for transgender minors where motion

was filed ten days after complaint and less than two weeks before law was to take effect).

        Conversely, the United States will suffer prejudice if its motion to intervene is denied.

This case implicates the United States’ ability to protect its sovereign interest in ensuring that all

persons, including transgender youth, are afforded equal protection of the laws in accordance

with the Fourteenth Amendment to the U.S. Constitution. Granting intervention here will

conserve resources and best serve judicial economy. It will ensure that the United States’

interests are protected without requiring the filing of a separate lawsuit that would delay the

adjudication of this matter and, ultimately, the constitutionality of SB 1. Such efficiency is

particularly critical here given that SB 1 goes into effect on July 1, 2023.

        Thus, the United States has met the requirements for intervention as of right under Rule

24(a)(1). 1


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  In the alternative, the Court should permit the United States to intervene in this litigation
because the requirements for permissive intervention under Rule 24(b)(1)(B) are met here. First,
the United States’ putative claim shares common questions of law and fact with the L.W.
Plaintiffs’ Equal Protection claim. See Fed. R. Civ. P. 24(b)(1)(B). Both Plaintiffs and the United
States claim violations of the Equal Protection Clause of the Fourteenth Amendment and these
claims are based on the same facts. Both lawsuits challenge SB 1’s ban on certain types of
gender-affirming care for transgender youth diagnosed with gender dysphoria. Second, because
the United States’ motion is timely, intervention will not unduly delay or prejudice the
adjudication of the original parties’ rights. Id. at (b)(3). Given that the United States has



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                                             CONCLUSION

       For the foregoing reasons, the Court should grant the United States’ motion to intervene

and order its intervention in this action.

Dated: April 26, 2023                                Respectfully submitted,

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promptly moved to intervene, intervention will not unduly delay or prejudice the original parties’
rights.


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                                CERTIFICATE OF SERVICE

       I certify that on April 26, 2023, a true and correct copy of the foregoing was served via the

Court’s CM/ECF system, if registered. A service copy also was served via both certified mail

and personal service on the parties listed below.



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